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     Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
11                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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13   Bureau of Consumer Financial Protection, )
                                              )                 Case No.: 8-20-cv-00043-JVS-ADS
14                    Plaintiff,              )
                                              )                 DECLARATION OF COLIN
15               vs.                          )                 REARDON IN SUPPORT OF
                                              )                 APPLICATION FOR CLERK TO
16   Chou Team Realty, LLC et al.,            )                 ENTER DEFAULT AGAINST
                                              )                 DEFENDANTS WHO FAILED TO
17                    Defendants.             )                 APPEAR
                                              )
18                                            )
19
20   I, Colin Reardon, pursuant to 28 U.S.C. § 1746, declare as follows:
21         1.      I am a Senior Litigation Counsel for Plaintiff Bureau of Consumer
22   Financial Protection (“Bureau”) and lead counsel in this action. My business
23   address is 1700 G Street, NW, Washington, D.C. 20552.
24         2.      The facts set forth in this declaration are based on my personal
25   knowledge or information made known to me in the course of my official
26   duties.
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28
                DECLARATION OF COLIN REARDON IN SUPPORT OF APPLICATION FOR CLERK TO ENTER DEFAULT
                                    AGAINST DEFENDANTS WHO FAILED TO APPEAR
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 1         3.      The Bureau filed its Complaint in this action on January 9, 2020.
 2   The Complaint includes claims against several defendants, including, as
 3   relevant here, Defendants Docu Prep Center, Inc., d/b/a DocuPrep Center, d/b/a
 4   Certified Document Center; Document Preparation Services, LP, d/b/a
 5   DocuPrep Center, d/b/a Certified Document Center; Certified Doc Prep
 6   Services, LP; Direct Document Solutions, Inc.; Direct Document Solutions, LP;
 7   Secure Preparation Services, Inc.; Secure Preparation Services, LP; and Bilal
 8   Abdelfattah, a/k/a Belal Abdelfattah, a/k/a Bill Abdel (collectively, “Defaulting
 9   Defendants”).
10         4.      On January 31, 2020, Docu Prep Center, Inc. waived personal
11   service and accepted a copy of the Complaint. The waiver of service was
12   signed by Joshua Robbins, an attorney who represents Docu Prep Center, Inc.’s
13   agent for service of process Robert Hoose. The waiver of service has been filed
14   in this action. (ECF 28.)
15         5.      Docu Prep Center, Inc.’s deadline to answer or otherwise respond
16   to the Complaint was March 23, 2020.
17         6.      On January 31, 2020, Document Preparation Services, LP waived
18   personal service and accepted a copy of the Complaint. The waiver of service
19   was signed by Joshua Robbins, an attorney who represents Document
20   Preparation Services, LP’s agent for service of process Robert Hoose. The
21   waiver of service has been filed in this action. (ECF 29.)
22         7.      Document Preparation Services, LP’s deadline to answer or
23   otherwise respond to the Complaint was March 23, 2020.
24         8.      On February 3, 2020, a process server personally served a
25   summons and a copy of the Complaint on Haithum Abdelfattah, who is the
26   registered agent for service of process for Certified Doc Prep Services, LP. The
27   proof of service has been filed in this action. (ECF 34.)
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                DECLARATION OF COLIN REARDON IN SUPPORT OF APPLICATION FOR CLERK TO ENTER DEFAULT
                                    AGAINST DEFENDANTS WHO FAILED TO APPEAR
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 1         9.       Certified Doc Prep Services, LP’s deadline to answer or otherwise
 2   respond to the Complaint was February 24, 2020.
 3         10.      On January 16, 2020, a process server personally served a copy of
 4   the summons and the Complaint on Jimmy A. Calderon, who is the registered
 5   agent for service of process for Direct Document Solutions, Inc. The proof of
 6   service has been filed in this action. (ECF 25.)
 7         11.      Direct Document Solutions, Inc.’s deadline to answer or otherwise
 8   respond to the Complaint was February 7, 2020.
 9         12.      On February 6, 2020, a process server personally served a copy of
10   the summons and the Complaint on David Sklar, who is the registered agent for
11   service of process for Direct Document Solutions, LP. The proof of service has
12   been filed in this action. (ECF 38.)
13         13.      Direct Document Solutions, LP’s deadline to answer or otherwise
14   respond to the Complaint was February 27, 2020.
15         14.      On January 23, 2020, a process server personally served a copy of
16   the summons and the Complaint on Aaron Sebreros, who is the registered agent
17   for service of process for Secure Preparation Services, Inc. The proof of service
18   has been filed in this action. (ECF 26.)
19         15.      Secure Preparation Services, Inc.’s deadline to answer or otherwise
20   respond to the Complaint was February 13, 2020.
21         16.      On February 6, 2020, a process server personally served a copy of
22   the summons and the Complaint on David Sklar, who is the registered agent for
23   service of process for Secure Preparation Services, LP. The proof of service
24   was filed in this action. (ECF 41.)
25         17.      Secure Preparation Services, LP’s deadline to answer or otherwise
26   respond to the Complaint was February 27, 2020.
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                 DECLARATION OF COLIN REARDON IN SUPPORT OF APPLICATION FOR CLERK TO ENTER DEFAULT
                                     AGAINST DEFENDANTS WHO FAILED TO APPEAR
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 1         18.      On January 28, 2020 Bilal Abdelfattah, a/k/a Belal Abdelfattah,
 2   a/k/a Bill Abdel (“Abdelfattah”) waived personal service and accepted a copy
 3   of the Complaint. The waiver of service was signed by Nader Nuru, an attorney
 4   who represents Abdelfattah, and has been filed in this action. (ECF 15.)
 5         19.      Abdelfattah’s deadline to answer or otherwise respond to the
 6   Complaint was March 23, 2020.
 7         20.      No Defaulting Defendant has answered, moved to dismiss, or
 8   otherwise appeared in this action, and the time within which Defaulting
 9   Defendants may appear has expired.
10
11   I declare under penalty of perjury that the foregoing is true and correct.
12
13   Executed on: April 9, 2020
14
15                                                     /s/ Colin Reardon
                                                       Colin Reardon (pro hac vice)
16                                                     E. Vanessa Assae-Bille (pro hac vice)
                                                       Leanne E. Hartmann
17
                                                       Bureau of Consumer Financial Protection
18                                                     1700 G Street, NW
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                                                       Attorneys for Plaintiff Bureau of
20                                                     Consumer Financial Protection
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                 DECLARATION OF COLIN REARDON IN SUPPORT OF APPLICATION FOR CLERK TO ENTER DEFAULT
                                     AGAINST DEFENDANTS WHO FAILED TO APPEAR
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